 Fill in this information to identify your case and this filing:

 Debtor 1                    William H Stright
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Veronica L Stright
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF ARIZONA

 Case number            4:19-bk-05359                                                                                                                            Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.

        Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        7930 W School Hill Place                                                       Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Tucson                            AZ        85743-0000                         Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                               $222,948.00                $222,948.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
        Pima                                                                           Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:




 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                      $222,948.00

 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                   page 1
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            Case 4:19-bk-05359-BMW                                         Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                                           Main Document    Page 1 of 37
 Debtor 1        William H Stright
 Debtor 2        Veronica L Stright                                                                                 Case number (if known)       4:19-bk-05359

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Nissan                                    Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Pathfinder                                      Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2016                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                  41,731                Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                              $28,000.00                 $28,000.00
                                                                     (see instructions)



  3.2    Make:       Honda                                     Who has an interest in the property? Check one                 Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Accord                                          Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1998                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
         Approximate mileage:                146,000                 Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another


                                                                     Check if this is community property                                $3,000.00                  $3,000.00
                                                                     (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $31,000.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Living Room Couch                                                                                                                 $200.00


                                    Living Room Rug                                                                                                                     $50.00


                                    Kitchen Table & Chairs                                                                                                              $75.00


                                    Stove                                                                                                                               $60.00


                                    Refrigerator                                                                                                                      $100.00



Official Form 106A/B                                                       Schedule A/B: Property                                                                         page 2
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             Case 4:19-bk-05359-BMW                             Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                Desc
                                                                Main Document    Page 2 of 37
 Debtor 1       William H Stright
 Debtor 2       Veronica L Stright                                                                  Case number (if known)     4:19-bk-05359


                                    Dishwasher                                                                                                       $20.00


                                    Microwave oven                                                                                                   $50.00


                                    Beds(5)                                                                                                        $400.00


                                    Bedding                                                                                                          $50.00


                                    Dressers                                                                                                       $200.00


                                    Washing Machine                                                                                                $100.00


                                    Clothes Dryer                                                                                                  $100.00


                                    Vacuum Cleaner                                                                                                   $20.00


                                    Small Kitchen Appliances                                                                                         $50.00


                                    Books, CD's & DVDs                                                                                               $50.00


                                    Tools of the Trade                                                                                               $50.00


7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    DVD Player                                                                                                         $5.00


                                    Televisions (5)                                                                                                $300.00


                                    Computer, Ipad & Laptop                                                                                        $250.00


                                    Printer                                                                                                          $25.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
       Yes. Describe.....
Official Form 106A/B                                                 Schedule A/B: Property                                                            page 3
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          Case 4:19-bk-05359-BMW                                Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                              Desc
                                                                Main Document    Page 3 of 37
 Debtor 1          William H Stright
 Debtor 2          Veronica L Stright                                                                                         Case number (if known)   4:19-bk-05359


                                            Bicycle & Other Exercise Equipment                                                                                           $150.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                            Men's Wardrobe                                                                                                               $300.00


                                            Woman's Wardrobe                                                                                                             $350.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                            Engagement & Wedding Ring                                                                                                    $200.00


                                            Watch (2)                                                                                                                    $140.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
        No
        Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                             $3,295.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                              Current value of the
                                                                                                                                                          portion you own?
                                                                                                                                                          Do not deduct secured
                                                                                                                                                          claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
        No
        Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:




Official Form 106A/B                                                                       Schedule A/B: Property                                                            page 4
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           Case 4:19-bk-05359-BMW                                              Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                    Desc
                                                                               Main Document    Page 4 of 37
 Debtor 1        William H Stright
 Debtor 2        Veronica L Stright                                                                     Case number (if known)   4:19-bk-05359


                                      17.1.    Checking- 4985               First National Bank Texas                                                 $0.00



                                      17.2.    Checking-0257                US Bank                                                                   $0.00



                                      17.3.    Checking-0977                Hughes Federal Credit Union                                             $50.00



                                      17.4.    Savings-0977-1               Hughes Federal Credit Union                                               $0.00



                                      17.5.    Checking-71                  Vantage West Credit Union                                                 $3.80



                                      17.6.    Savings- 00                  Vantage West Credit Union                                                 $0.00



                                      17.7.    Checking- 71                 Vantage West Credit Union                                                 $0.00



                                      17.8.    Savings-00                   Vantage West Credit Union                                                 $0.00



                                      17.9.    Checking-1945                Bank of America                                                         $20.78


                                      17.10                                 Bank of America- Open account for Son
                                      .     Checking-3360                   Dylan Lizarraga                                                           $0.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
        No
        Yes..................                 Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                       % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                            Institution name:




Official Form 106A/B                                                 Schedule A/B: Property                                                           page 5
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           Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                            Desc
                                                                Main Document    Page 5 of 37
 Debtor 1         William H Stright
 Debtor 2         Veronica L Stright                                                                          Case number (if known)      4:19-bk-05359

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                          Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
        No
        Yes.............             Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...

 Money or property owed to you?                                                                                                              Current value of the
                                                                                                                                             portion you own?
                                                                                                                                             Do not deduct secured
                                                                                                                                             claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
        No
        Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                       Beneficiary:                             Surrender or refund
                                                                                                                                              value:

                                            Citigroup plan                                                                                                      $0.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                   page 6
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           Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                      Desc
                                                                Main Document    Page 6 of 37
 Debtor 1        William H Stright
 Debtor 2        Veronica L Stright                                                                                              Case number (if known)        4:19-bk-05359

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........

35. Any financial assets you did not already list
        No
        Yes. Give specific information..


 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................                   $74.58


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.



 Part 6:   Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.


 Part 7:         Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........


 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                       $0.00




Official Form 106A/B                                                           Schedule A/B: Property                                                                               page 7
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           Case 4:19-bk-05359-BMW                                    Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                     Desc
                                                                     Main Document    Page 7 of 37
 Debtor 1         William H Stright
 Debtor 2         Veronica L Stright                                                                                                    Case number (if known)   4:19-bk-05359

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................              $222,948.00
 56. Part 2: Total vehicles, line 5                                                                           $31,000.00
 57. Part 3: Total personal and household items, line 15                                                       $3,295.00
 58. Part 4: Total financial assets, line 36                                                                      $74.58
 59. Part 5: Total business-related property, line 45                                                              $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
 61. Part 7: Total other property not listed, line 54                                             +                $0.00

 62. Total personal property. Add lines 56 through 61...                                                      $34,369.58              Copy personal property total            $34,369.58

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                        $257,317.58




Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 8
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           Case 4:19-bk-05359-BMW                                        Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                   Desc
                                                                         Main Document    Page 8 of 37
 Fill in this information to identify your case:

 Debtor 1                William H Stright
                         First Name                         Middle Name                 Last Name

 Debtor 2                Veronica L Stright
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           4:19-bk-05359
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      2016 Nissan Pathfinder 41,731 miles                            $28,000.00                                       $0.00    Ariz. Rev. Stat. § 33-1125(8)
      Line from Schedule A/B: 3.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      1998 Honda Accord 146,000 miles                                 $3,000.00                                       $0.00    Ariz. Rev. Stat. § 33-1125(8)
      Line from Schedule A/B: 3.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Living Room Couch                                                   $200.00                                  $200.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Living Room Rug                                                      $50.00                                   $50.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

      Kitchen Table & Chairs                                               $75.00                                   $75.00     Ariz. Rev. Stat. § 33-1123
      Line from Schedule A/B: 6.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                      page 1 of 4
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              Case 4:19-bk-05359-BMW                            Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                     Desc
                                                                Main Document    Page 9 of 37
 Debtor 1    William H Stright
 Debtor 2    Veronica L Stright                                                                          Case number (if known)     4:19-bk-05359
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Stove                                                                $60.00                                    $60.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Refrigerator                                                        $100.00                                   $100.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.5
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dishwasher                                                           $20.00                                    $20.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.6
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Microwave oven                                                       $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.7
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Beds(5)                                                             $400.00                                   $400.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.8
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bedding                                                              $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Dressers                                                            $200.00                                   $200.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.10
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Washing Machine                                                     $100.00                                   $100.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.11
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Clothes Dryer                                                       $100.00                                   $100.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.12
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Vacuum Cleaner                                                       $20.00                                    $20.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.13
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Small Kitchen Appliances                                             $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.14
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 4
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            Case 4:19-bk-05359-BMW                             Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                         Desc
                                                               Main Document   Page 10 of 37
 Debtor 1    William H Stright
 Debtor 2    Veronica L Stright                                                                          Case number (if known)     4:19-bk-05359
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Books, CD's & DVDs                                                   $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.15
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Tools of the Trade                                                   $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 6.16
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     DVD Player                                                             $5.00                                     $5.00       Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 7.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Televisions (5)                                                     $300.00                                   $300.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 7.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Computer, Ipad & Laptop                                             $250.00                                   $250.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 7.3
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Printer                                                              $25.00                                    $25.00        Ariz. Rev. Stat. § 33-1123
     Line from Schedule A/B: 7.4
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Bicycle & Other Exercise Equipment                                  $150.00                                   $150.00        Ariz. Rev. Stat. § 33-1125(7)
     Line from Schedule A/B: 9.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Men's Wardrobe                                                      $300.00                                   $300.00        Ariz. Rev. Stat. § 33-1125(1)
     Line from Schedule A/B: 11.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Woman's Wardrobe                                                    $350.00                                   $350.00        Ariz. Rev. Stat. § 33-1125(1)
     Line from Schedule A/B: 11.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Engagement & Wedding Ring                                           $200.00                                   $200.00        Ariz. Rev. Stat. § 33-1125(4)
     Line from Schedule A/B: 12.1
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Watch (2)                                                           $140.00                                   $140.00        Ariz. Rev. Stat. § 33-1125(6)
     Line from Schedule A/B: 12.2
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 3 of 4
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            Case 4:19-bk-05359-BMW                             Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                         Desc
                                                               Main Document   Page 11 of 37
 Debtor 1    William H Stright
 Debtor 2    Veronica L Stright                                                                          Case number (if known)     4:19-bk-05359
     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Checking-0977: Hughes Federal                                        $50.00                                    $50.00        Ariz. Rev. Stat. § 33-1126(A)(9)
     Credit Union
     Line from Schedule A/B: 17.3                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking-1945: Bank of America                                       $20.78                                    $20.78        Ariz. Rev. Stat. § 33-1126(A)(9)
     Line from Schedule A/B: 17.9
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
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            Case 4:19-bk-05359-BMW                             Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                         Desc
                                                               Main Document   Page 12 of 37
 Fill in this information to identify your case:

 Debtor 1                   William H Stright
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Veronica L Stright
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF ARIZONA

 Case number           4:19-bk-05359
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Fast Auto Loan                           Describe the property that secures the claim:                   $3,500.00                $3,000.00              $500.00
         Creditor's Name                          1998 Honda Accord 146,000 miles

                                                  As of the date you file, the claim is: Check all that
         8260 N Cortaro Rd                        apply.
         Tucson, AZ 85743                             Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)
       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred                                    Last 4 digits of account number




Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 3
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              Case 4:19-bk-05359-BMW                           Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                              Desc
                                                               Main Document   Page 13 of 37
 Debtor 1 William H Stright                                                                                   Case number (if known)   4:19-bk-05359
               First Name                  Middle Name                      Last Name
 Debtor 2 Veronica L Stright
               First Name                  Middle Name                      Last Name


         Hughes Federal Credit
 2.2                                                                                                                 $33,672.00          $28,000.00        $6,821.00
         Union                                      Describe the property that secures the claim:
         Creditor's Name                            2016 Nissan Pathfinder 41,731 miles

                                                    As of the date you file, the claim is: Check all that
         PO BOX 11900                               apply.
         Tucson, AZ 85734                                Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number


         Shellpoint Mortgage
 2.3                                                                                                                $171,245.00         $222,948.00              $0.00
         Servicing                                  Describe the property that secures the claim:
         Creditor's Name                            7930 W School Hill Place Tucson,
                                                    AZ 85743 Pima County
                                                    As of the date you file, the claim is: Check all that
         55 Beattie Place Ste 600                   apply.
         Greenville, SC 29601                            Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          5-22-18                     Last 4 digits of account number         7840

 2.4     Speedy Cash                                Describe the property that secures the claim:                      $1,149.00         $28,000.00              $0.00
         Creditor's Name                            2016 Nissan Pathfinder 41,731 miles

                                                    As of the date you file, the claim is: Check all that
         PO BOX 780408                              apply.
         Wichita, KS 67278                               Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred                                      Last 4 digits of account number



Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 3
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            Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                       Desc
                                                                 Main Document   Page 14 of 37
 Debtor 1 William H Stright                                                                      Case number (if known)        4:19-bk-05359
              First Name                Middle Name                  Last Name
 Debtor 2 Veronica L Stright
              First Name                Middle Name                  Last Name




   Add the dollar value of your entries in Column A on this page. Write that number here:                        $209,566.00
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                       $209,566.00

 Part 2:    List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                           page 3 of 3
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           Case 4:19-bk-05359-BMW                              Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                         Desc
                                                               Main Document   Page 15 of 37
 Fill in this information to identify your case:

 Debtor 1                     William H Stright
                              First Name                    Middle Name                        Last Name

 Debtor 2                     Veronica L Stright
 (Spouse if, filing)          First Name                    Middle Name                        Last Name


 United States Bankruptcy Court for the:                DISTRICT OF ARIZONA

 Case number           4:19-bk-05359
 (if known)                                                                                                                                              Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
           No. Go to Part 2.

           Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          Arizona Department of Revenue                          Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              2005 N Central Ave. Suite 100                          When was the debt incurred?
              Phoenix, AZ 85004
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
              Debtor 1 only                                             Unliquidated
              Debtor 2 only                                             Disputed
              Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

              At least one of the debtors and another                   Domestic support obligations

              Check if this claim is for a community debt               Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

              No                                                        Other. Specify
              Yes




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 1 of 15
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              Case 4:19-bk-05359-BMW                           Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                     Desc
                                                               Main Document   Page 16 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                               Case number (if known)            4:19-bk-05359

 2.2        Internal Revenue Service                                 Last 4 digits of account number                        $14,678.00             $14,678.00                    $0.00
            Priority Creditor's Name
            4041 N. Central Ave. Suite 112                           When was the debt incurred?
            Phoenix, AZ 85012
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                               Contingent
            Debtor 1 only                                               Unliquidated
            Debtor 2 only                                               Disputed
            Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:

            At least one of the debtors and another                     Domestic support obligations

            Check if this claim is for a community debt                 Taxes and certain other debts you owe the government

        Is the claim subject to offset?                                 Claims for death or personal injury while you were intoxicated

            No                                                          Other. Specify
            Yes                                                                            2016 & 2017 Taxes

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

          No. You have nothing to report in this part. Submit this form to the court with your other schedules.

          Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1        Barclays Bank Delaware                                     Last 4 digits of account number                                                                    $1,023.00
            Nonpriority Creditor's Name
            PO Box 8803                                                When was the debt incurred?            12-15-2016
            Attn: Credit Bureau
            Wilmington, DE 19899
            Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
                 Debtor 1 only
                                                                           Contingent
                 Debtor 2 only                                             Unliquidated
                 Debtor 1 and Debtor 2 only                                Disputed
                 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                Check if this claim is for a community                     Student loans
            debt                                                          Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                            report as priority claims

                 No                                                        Debts to pension or profit-sharing plans, and other similar debts

                 Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 15
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           Case 4:19-bk-05359-BMW                              Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                        Desc
                                                               Main Document   Page 17 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.2      Best Buy/CBNA                                              Last 4 digits of account number                                                           $603.00
          Nonpriority Creditor's Name
          P.O. Box 6497                                              When was the debt incurred?           3-17-2009
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.3      Best Buy/CBNA                                              Last 4 digits of account number       9461                                             $4,778.00
          Nonpriority Creditor's Name
          P.O. Box 6497                                              When was the debt incurred?           4-20-13
          Sioux Falls, SD 57117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.4      BUREAU OF MED ECONOMICS                                    Last 4 digits of account number       3823                                                $121.00
          Nonpriority Creditor's Name
          326 E CORONADO RD #25                                      When was the debt incurred?           2-14-2017
          Phoenix, AZ 85004-1524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 3 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 18 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.5      CAPITAL ONE BANK                                           Last 4 digits of account number       1350                                             $1,836.00
          Nonpriority Creditor's Name
          PO BOX 30281                                               When was the debt incurred?           11-30-2015
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.6      Capital One Bank, USA N.A.                                 Last 4 digits of account number                                                           $426.00
          Nonpriority Creditor's Name
          PO BOX 85015                                               When was the debt incurred?           4-20-2009
          Richmond, VA 23285-5075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.7      Capital One Bank, USA N.A.                                 Last 4 digits of account number                                                           $590.00
          Nonpriority Creditor's Name
          PO BOX 85015                                               When was the debt incurred?           9-22-2016
          Richmond, VA 23285-5075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 19 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.8      Catalina Radiology PC                                      Last 4 digits of account number       8686                                             Unknown
          Nonpriority Creditor's Name
          7 Acee Drive                                               When was the debt incurred?
          Natrona Heights, PA 15065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical


 4.9      Celtic Bank (INDIGO)                                       Last 4 digits of account number                                                           $266.00
          Nonpriority Creditor's Name
          PO BOX 4499                                                When was the debt incurred?           11-27-2017
          Beaverton, OR 97076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.1
 0        Comenity Bank/ Victoria Secret                             Last 4 digits of account number                                                        $1,447.00
          Nonpriority Creditor's Name
          PO BOX 182789                                              When was the debt incurred?           7-18-2015
          Columbus, OH 43218-2789
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 20 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.1
 1        Comenity Capital Bank/ Big Lots CC                         Last 4 digits of account number       4815                                             $1,488.00
          Nonpriority Creditor's Name
          PO BOX 182120                                              When was the debt incurred?           6-18-2016
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.1
 2        Encore Receivable Management Inc                           Last 4 digits of account number       9097                                             Unknown
          Nonpriority Creditor's Name
          Synchrony Bank                                             When was the debt incurred?
          Olathe, KS 66063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.1
 3        Encore Receivables Management                              Last 4 digits of account number       4448                                             Unknown
          Nonpriority Creditor's Name
          400 N Rogers Rd                                            When was the debt incurred?
          P.O. Box 3330
          Olathe, KS 66063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 21 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.1
 4        ERC DEBT COLLECTION                                        Last 4 digits of account number       8638                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 1259                                                When was the debt incurred?
          DEPT 98696
          Oaks, PA 19456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 5        Healthcare Collections-I, LLC                              Last 4 digits of account number       07                                                  $228.00
          Nonpriority Creditor's Name
          2224 W Northern Ave                                        When was the debt incurred?           7-17-18
          Suite D-100
          Phoenix, AZ 85021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 6        Healthcare Collections-I, LLC                              Last 4 digits of account number       11                                                  $216.00
          Nonpriority Creditor's Name
          2224 W Northern Ave                                        When was the debt incurred?           12-8-17
          Suite D-100
          Phoenix, AZ 85021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 22 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.1
 7        Healthcare Collections-I, LLC                              Last 4 digits of account number       CM08                                                $158.00
          Nonpriority Creditor's Name
          2224 W Northern Ave                                        When was the debt incurred?           1-30-18
          Suite D-100
          Phoenix, AZ 85021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 8        Healthcare Collections-I, LLC                              Last 4 digits of account number       CM08                                                $158.00
          Nonpriority Creditor's Name
          2224 W Northern Ave                                        When was the debt incurred?           1-30-18
          Suite D-100
          Phoenix, AZ 85021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.1
 9        JP Morgan Chase Bank, N.A.                                 Last 4 digits of account number       6650                                             $2,524.00
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?           3-15-2014
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 23 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.2
 0        Khols/ Capital One                                         Last 4 digits of account number                                                        $3,113.00
          Nonpriority Creditor's Name
          PO BOX 3115                                                When was the debt incurred?           9-27-2013
          Milwaukee, WI 53201-3115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.2
 1        KOHLS DEPARTMENT STORE                                     Last 4 digits of account number       1407                                             $3,097.00
          Nonpriority Creditor's Name
          PO BOX 3115                                                When was the debt incurred?           5-21-2013
          Milwaukee, WI 53201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.2
 2        LabCorp                                                    Last 4 digits of account number       3219                                             Unknown
          Nonpriority Creditor's Name
          PO Box 2240                                                When was the debt incurred?
          Fall River, MA 02721-6000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 9 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 24 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.2
 3        LCA Collections                                            Last 4 digits of account number       2326                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX 15519                                               When was the debt incurred?
          Savannah, GA 31416
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.2
 4        Lendingclub Corporation                                    Last 4 digits of account number       4265                                           $14,478.00
          Nonpriority Creditor's Name
          71 Stevenson Pl. Ste #300                                  When was the debt incurred?           10-26-2018
          San Francisco, CA 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only
                                                                        Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.2
 5        Oro Valley Hospital                                        Last 4 digits of account number       3883                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 1280                                                When was the debt incurred?
          Oaks, PA 19456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 10 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 25 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.2
 6        Paypal Credit                                              Last 4 digits of account number       8272                                             Unknown
          Nonpriority Creditor's Name
          Po Box 71202                                               When was the debt incurred?
          Charlotte, NC 28272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit/Collections


 4.2
 7        Portfolio Recovery/CACH LLC                                Last 4 digits of account number       1223                                             Unknown
          Nonpriority Creditor's Name
          DEPT 922                                                   When was the debt incurred?
          PO BOX 4115
          Concord, CA 94524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.2
 8        RevSolve Inc.                                              Last 4 digits of account number       1039                                                $414.00
          Nonpriority Creditor's Name
          1395 N Hayden Rd                                           When was the debt incurred?           4-25-16
          Scottsdale, AZ 85257
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 11 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 26 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.2
 9        RSI ENTERPRISES INC                                        Last 4 digits of account number       0920                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 16190                                               When was the debt incurred?
          Phoenix, AZ 85011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical/Collections


 4.3
 0        RSI ENTERPRISES, INC                                       Last 4 digits of account number       90                                                  $145.00
          Nonpriority Creditor's Name
          5440 W. NORTHERN AVE                                       When was the debt incurred?           3-24-2014
          Glendale, AZ 85301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Collection


 4.3
 1        SMI Imaging                                                Last 4 digits of account number       mn1a                                             Unknown
          Nonpriority Creditor's Name
          PO BOX 204165                                              When was the debt incurred?
          Dallas, TX 75320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Medical




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 12 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 27 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.3
 2        Snap Finance                                               Last 4 digits of account number       78AZ                                             Unknown
          Nonpriority Creditor's Name
          PO Box 26561                                               When was the debt incurred?
          Salt Lake City, UT 84126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.3
 3        SYNCB/ Sam Levitz                                          Last 4 digits of account number                                                        $1,369.00
          Nonpriority Creditor's Name
          P.O. Box 965036                                            When was the debt incurred?           1-3-2016
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.3
 4        SYNCB/ Sam Levitz                                          Last 4 digits of account number       0631                                             $2,575.00
          Nonpriority Creditor's Name
          P.O. Box 965036                                            When was the debt incurred?           6-5-2015
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 13 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 28 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)         4:19-bk-05359

 4.3
 5        TD Bank USA/ Target Credit                                 Last 4 digits of account number                                                           $908.00
          Nonpriority Creditor's Name
          7000 Tarhet Parkway N,                                     When was the debt incurred?           3-15-2014
          Mail Stop NCD-0450
          Brooklyn PArk, MN 55445-4301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.3
 6        Vantage West CU                                            Last 4 digits of account number                                                        $7,865.00
          Nonpriority Creditor's Name
          PO BOX 15115                                               When was the debt incurred?           5-19-2012
          Tucson, AZ 85708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only
                                                                        Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit


 4.3
 7        Vantage West CU                                            Last 4 digits of account number       2328                                           $10,559.00
          Nonpriority Creditor's Name
          PO BOX 15115                                               When was the debt incurred?           11-16-2012
          Tucson, AZ 85708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Credit




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 14 of 15
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          Case 4:19-bk-05359-BMW                               Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                          Desc
                                                               Main Document   Page 29 of 37
 Debtor 1 William H Stright
 Debtor 2 Veronica L Stright                                                                             Case number (if known)          4:19-bk-05359

 4.3
 8         Vital Recovery Services                                   Last 4 digits of account number       2408                                                      Unknown
           Nonpriority Creditor's Name
           PO BOX 923747                                             When was the debt incurred?
           Peachtree Cors., GA 30010-3747
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

              Debtor 1 only                                              Contingent
              Debtor 2 only                                              Unliquidated
              Debtor 1 and Debtor 2 only                                 Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                    Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                         Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                        Other. Specify   Collection

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Encore Receivable Management Inc                              Line 4.12 of (Check one):                    Part 1: Creditors with Priority Unsecured Claims
 400 N. Rogers Rd                                                                                          Part 2: Creditors with Nonpriority Unsecured Claims
 Olathe, KS 66063
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                      14,678.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                      14,678.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                      60,385.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                      60,385.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page 15 of 15
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           Case 4:19-bk-05359-BMW                              Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                   Desc
                                                               Main Document   Page 30 of 37
 Fill in this information to identify your case:

 Debtor 1                  William H Stright
                           First Name                         Middle Name              Last Name

 Debtor 2                  Veronica L Stright
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF ARIZONA

 Case number           4:19-bk-05359
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
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              Case 4:19-bk-05359-BMW                             Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                  Desc
                                                                 Main Document   Page 31 of 37
 Fill in this information to identify your case:

 Debtor 1                     William H Stright
                              First Name                            Middle Name        Last Name

 Debtor 2                     Veronica L Stright
 (Spouse if, filing)          First Name                            Middle Name        Last Name


 United States Bankruptcy Court for the:                   DISTRICT OF ARIZONA

 Case number             4:19-bk-05359
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                            12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                       No
                       Yes.


                         In which community state or territory did you live?           -NONE-          . Fill in the name and current address of that person.


                         Name of your spouse, former spouse, or legal equivalent
                         Number, Street, City, State & Zip Code

   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                                Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                         Check all schedules that apply:

    3.1                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




    3.2                                                                                                   Schedule D, line
                Name
                                                                                                          Schedule E/F, line
                                                                                                          Schedule G, line
                Number               Street
                City                                        State                       ZIP Code




Official Form 106H                                                                 Schedule H: Your Codebtors                                      Page 1 of 1
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              Case 4:19-bk-05359-BMW                                  Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                           Desc
                                                                      Main Document   Page 32 of 37
Fill in this information to identify your case:

Debtor 1                      William H Stright

Debtor 2                      Veronica L Stright
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF ARIZONA

Case number               4:19-bk-05359                                                                 Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                                Not employed
       employers.
                                             Occupation            System Administrator
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Citigroup Technology, Inc.

       Occupation may include student        Employer's address
                                                                   3800 Citigroup Center Drive
       or homemaker, if it applies.
                                                                   Tampa, FL 33610

                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         8,341.67        $            0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$           0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      8,341.67               $      0.00




Official Form 106I                                              Schedule I: Your Income
             Case 4:19-bk-05359-BMW                   Doc 23 Filed  05/23/19 Entered 05/23/19 12:45:24                                    Descpage 1
                                                      Main Document     Page 33 of 37
Debtor 1    William H Stright
Debtor 2    Veronica L Stright                                                                   Case number (if known)    4:19-bk-05359


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      8,341.67       $             0.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $      1,681.33       $               0.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $        500.50       $               0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $          0.00       $               0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $          0.00       $               0.00
     5e.     Insurance                                                                    5e.        $        903.50       $               0.00
     5f.     Domestic support obligations                                                 5f.        $          0.00       $               0.00
     5g.     Union dues                                                                   5g.        $          0.00       $               0.00
     5h.     Other deductions. Specify:                                                   5h.+       $          0.00 +     $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          3,085.33       $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          5,256.34       $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $        352.00       $               0.00
     8d. Unemployment compensation                                                        8d.        $          0.00       $               0.00
     8e. Social Security                                                                  8e.        $          0.00       $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $               0.00
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            352.00       $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              5,608.34 + $           0.00 = $           5,608.34
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $           5,608.34
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                           Schedule I: Your Income
           Case 4:19-bk-05359-BMW                  Doc 23 Filed  05/23/19 Entered 05/23/19 12:45:24                                        Descpage 2
                                                   Main Document     Page 34 of 37
Fill in this information to identify your case:

Debtor 1                 William H Stright                                                                 Check if this is:
                                                                                                               An amended filing
Debtor 2                 Veronica L Stright                                                                    A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF ARIZONA                                                      MM / DD / YYYY

Case number           4:19-bk-05359
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                               12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to        Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2               age             live with you?

      Do not state the                                                                                                                     No
      dependents names.                                                            Son                                8 months             Yes
                                                                                                                                           No
                                                                                   Daughter                           6                    Yes
                                                                                                                                           No
                                                                                   Nephew                             8                    Yes
                                                                                                                                           No
                                                                                   Son                                15                   Yes
                                                                                                                                           No
                                                                                   Daughter                           21                   Yes
                                                                                                                                           No
                                                                                   Brother                            39                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                      Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                            910.75

      If not included in line 4:

      4a.     Real estate taxes                                                                           4a. $                             171.25
      4b.     Property, homeowner’s, or renter’s insurance                                                4b. $                             112.00
      4c.     Home maintenance, repair, and upkeep expenses                                               4c. $                              60.00
Official Form 106J                                                   Schedule J: Your Expenses                                                          page 1
       Case 4:19-bk-05359-BMW                         Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                            Desc
                                                      Main Document   Page 35 of 37
Debtor 1    William H Stright
Debtor 2    Veronica L Stright                                                     Case number (if known)   4:19-bk-05359

     4d. Homeowner’s association or condominium dues                                    4d. $                          25.00
5.   Additional mortgage payments for your residence, such as home equity loans          5. $                           0.00




Official Form 106J                                     Schedule J: Your Expenses                                               page 2
      Case 4:19-bk-05359-BMW                Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                             Desc
                                            Main Document   Page 36 of 37
Debtor 1     William H Stright
Debtor 2     Veronica L Stright                                                                        Case number (if known)      4:19-bk-05359

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                220.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                180.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                620.00
      6d. Other. Specify:                                                                    6d. $                                                  0.00
7.    Food and housekeeping supplies                                                           7. $                                             2,000.00
8.    Childcare and children’s education costs                                                 8. $                                               240.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                               250.00
10.   Personal care products and services                                                    10. $                                                150.00
11.   Medical and dental expenses                                                            11. $                                              1,280.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 300.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 200.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  345.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                  635.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                   74.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       7,873.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       7,873.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,608.34
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              7,873.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                             -2,264.66

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 3
      Case 4:19-bk-05359-BMW                           Doc 23 Filed 05/23/19 Entered 05/23/19 12:45:24                                                Desc
                                                       Main Document   Page 37 of 37
